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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF FLORIDA
                                      GAINESVILLE DIVISION
           In Re:
               SMYTH, EDWARD                  Case No 19-10280GVL1
           FRANCIS, JR.                       Chapter 7
               SMYTH, MARY JARUS
                          Debtor(s)           Judge Specie
              _______________________________________________________________

                               REPORT AND NOTICE OF INTENTION
                       TO SELL PROPERTY OF THE ESTATE BY PRIVATE SALE

       TO:     Debtor(s), Creditors, and Parties in Interest:

                                   NOTICE OF OPPORTUNITY TO
                                        OBJECT AND FOR HEARING
         Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within 21 days from the date set forth on the
 proof of service plus an additional three days for service if any party was served by U.S. Mail, or such other
 period as may be specified in Fed. R. Bankr. P. 9006(f).

         If you object to the relief requested in this paper, you must file an objection or response electronically
 with the Clerk of the Court or by mail at 110 E. Park Avenue, Suite 100, Tallahassee, FL, 32301 and serve a
 copy on the movant’s attorney, Theresa M. Bender, Trustee, P.O. Box 14557, Tallahassee, FL. 32317, and
 any other appropriate person within the time allowed. If you file and serve
 a response within the time permitted, the Court will either schedule and notify you of a hearing or consider
 the response and grant or deny the relief requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that you do not oppose
 the relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may
 grant the relief requested.


       NOTICE IS HEREBY GIVEN that the Trustee/debtor-in-possession intends to sell the
following property of the estate of the debtor(s), under the terms and conditions set forth below:

1)   Description and Value of Property: Non-exempt equity in assets scheduled by the Debtor(s) as
     itemized below:
       2005 CHRYSLER TOWN AND COUNTRY-$500.00
       HHGS-$500.00
       ELECTRONICS-$350.00
       SMALL COIN COLLECTION-$150.00
       TOOLS-$300.00
       FIREARMS-$250.00
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      CLOTHING-$75.00
      JEWELRY-$190.00
      SUBTOTAL-$2415.00
      6% SURCHARGE FOR TERMS-$144.90
      TOTAL-$2559.90
      12 MOS-$213.33

2)   Manner of Sale:       Private (x )* Public Auction ( )
3)   Terms of Sale:
      a) Purchaser(s):     SMYTH, EDWARD FRANCIS, JR.SMYTH, MARY JARUS, Debtor(s).
      b) “As is,” “where is” with no warranties expressed or implied; This sale is subject to any
         scheduled, known or unknown, liens, encumbrances, and Debtor’s exemptions; and any such
         liens or encumbrances will not attach to the proceeds of this sale.
      c) Assets and Terms as spelled out in the promissory note executed by Debtor(s);
      d) Selling price as negotiated between the parties and as more fully stated in executed
         Promissory Note held by the Trustee. A $25.00 late fee may be assessed for late or missed
         payments.
      e) All payments shall be made to Theresa M. Bender, Trustee, P.O. Box 14557,
         Tallahassee, Florida 32317.

      *The purchase price(s) was/were established by review of the schedules and any additional
      documents or testimony provided by parties, negotiated in good faith, and based on the
      principles of best business judgment.
      *(Applicable to private sales only.) The Trustee will entertain any higher bids of 25% or more
      for the purchase of the assets of the debtor(s) which the Trustee proposes to sell. Such bids must
      be in writing and accompanied by a deposit of 20% of the proposed higher purchase price. Any
      higher bid must be received, with the applicable deposit) by the Trustee at the address listed
      below no later than the close of business 15 days from the date of this Notice. Should a timely
      counterbid be receive; the Trustee will schedule a telephonic meeting for the sole purpose to
      allow the bidding parties to compete for the highest bidder. Only parties submitting a timely bid
      will be authorized to participate. Failure to submit a timely bid will be considered a waiver of
      participation in the bidding process.
      NOTICE IS HEREBY GIVEN that all objections to the same must state the basis of the
      objection. If no objection is filed, the sale described above will take place.

      Date: 12/13/2019                          /s/ Theresa M. Bender
                                                THERESA M. BENDER
                                                CHAPTER 7 TRUSTEE
                                                P.O. Box 14557
                                                Tallahassee, Florida 32317
                                                PH: 850.205.7777
                                                FL Bar No. 0749486
                                                Tmbenderch7@gmail.com
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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         GAINESVILLE DIVISION
IN RE: SMYTH, EDWARD FRANCIS, JR                                CASE NO: 19-10280
       SMYTH, MARY JARUS                                        DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 12/16/2019, I did cause a copy of the following documents, described below,
REPORT AND NOTICE OF INTENTION TO SELL PROPERTY OF THE ESTATE BY PRIVATE SALE




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 12/16/2019
                                                          /s/ Theresa M. Bender
                                                          Theresa M. Bender 749486
                                                          THERESA M. BENDER, TRUSTEE.
                                                          PO BOX 14557
                                                          TALLAHASSEE, FL 32317
                                                          850 205 7777
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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              GAINESVILLE DIVISION
 IN RE: SMYTH, EDWARD FRANCIS, JR                                       CASE NO: 19-10280
        SMYTH, MARY JARUS
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 12/16/2019, a copy of the following documents, described below,

REPORT AND NOTICE OF INTENTION TO SELL PROPERTY OF THE ESTATE BY PRIVATE SALE




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 12/16/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Theresa M. Bender
                                                                            THERESA M. BENDER, TRUSTEE.
                                                                            PO BOX 14557
                                                                            TALLAHASSEE, FL 32317
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 19-10280-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 17
                                                         FIRST Filed
                                                                CLASS 12/16/19
                                                                       MAIL      Page 5 of 5
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                FLORIDA CREDIT UNION                     FLORIDA CREDIT UNION
1LABEL MATRIX FOR LOCAL NOTICING         CO J BLAIR BOYD                          CO J BLAIR BOYD
11291                                    POST OFFICE BOX 3637                     SORENSON VAN LEUVEN PLLC
CASE 19-10280-KKS                        TALLAHASSEE FL 32315-3637                POST OFFICE BOX 3637
NORTHERN DISTRICT OF FLORIDA                                                      TALLAHASSEE FL 32315-3637
GAINESVILLE
FRI DEC 13 16-22-13 EST 2019



ANDREAU PALMA ANDREU PL                  BANK OF AMERICA                          CITIBANKSHELL OIL
815 NW 57TH AVENUE SUITE 401             PO BOX 982238                            CITIBANK CORPCENTRALIZED BANKRUPTCY
MIAMI FL 33126-2363                      EL PASO TX 79998-2238                    PO BOX 790034
                                                                                  SAINT LOUIS MO 63179-0034




FLORIDA CREDIT UNION                     HOME DEPOT CREDIT SERVICES               PENNYMAC LOAN SERVICES
2831 NW 43RD STREET                      PO BOX 9001030                           CORRESPONDENCE UNITBANKRUPTCY
GAINESVILLE FL 32606-6608                LOUISVILLE KY 40290-1030                 PO BOX 514387
                                                                                  LOS ANGELES CA 90051-4387




                                                                                  DEBTOR
UNITED STATES TRUSTEE                    BARBARA A CUSUMANO
110 E PARK AVENUE                        BARBARA A CUSUMANO ATTORNEY AT LAW       EDWARD FRANCIS SMYTH JR
SUITE 128                                2727 NW 43RD STREET SUITE 2A             8751 SE US HWY 301
TALLAHASSEE FL 32301-7728                GAINESVILLE FL 32606-6632                HAWTHORNE FL 32640-7522




                                         EXCLUDE
MARY JARUS SMYTH
8751 SE US HWY 301                       THERESA M BENDER
HAWTHORNE FL 32640-7522                  PO BOX 14557
                                         TALLAHASSEE FL 32317-4557
